                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


RONITA McKINLEY and
GARY McKINLEY, h/w
2508 N. Crown Circle
Carlsbad, NM 88220

           and                             Case No.

SHAYNE COLLINS
2515 N. Crown Circle                       JURY TRIAL DEMANDED
Carlsbad, NM 88220

           and

TIFFANY COLLINS
2515 N. Crown Circle
Carlsbad, NM 88220

           and

TIFFANY COLLINS, individually and
as parent and natural guardian of
T.K, a minor
2515 N. Crown Circle
Carlsbad, NM 88220

           and

TALYSSA MANN
4424 E. Baseline Road
Phoenix, AZ 85042

           and

TOMLYN McDONALD and
DUSTIN McDONALD, h/w
3600 Boyd Avenue
Midland, TX 79707

           and




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TOMLYN McDONALD and
DUSTIN McDONALD, individually and
as parents and natural guardians of
Ca.M., a minor
3600 Boyd Avenue
Midland, TX 79707

          and

TOMLYN McDONALD and
DUSTIN McDONALD, individually and
as parents and natural guardians of
Ch.M., a minor
3600 Boyd Avenue
Midland, TX 79707

            Plaintiffs

vs.

RIPLEY ENTERTAINMENT, INC.,
d/b/a RIDE THE DUCKS
7576 Kingspointe PKWY – Suite 188
Orlando, FL 32819

          and

BRANSON DUCK VEHICLES, LLC
d/b/a RIDE THE DUCKS
2320 W. Highway 76
Branson, MO 65616

          and

RIDE THE DUCKS INTERNATIONAL LLC,
d/b/a RIDE THE DUCKS
222 E. Dunklin Street, Suite 102
Jefferson City, MO 65101

          and

RIDE THE DUCKS OF BRANSON, LLC,
d/b/a RIDE THE DUCKS
2320 W. Highway 76
Branson, MO 65616



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              and

 HERSCHEND FAMILY ENTERTAINMENT
 CORPORATION, d/b/a RIDE THE DUCKS
 2800 W. 76 Country Boulevard
 Branson, MO 65616

              and

 AMPHIBIOUS VEHICLE
 MANUFACTURING, LLC
 2320 W. Highway 76
 Branson, MO 65616

                Defendants

                                             COMPLAINT

       COME NOW the Plaintiffs, above-named, by and through their attorneys, Aleshire Robb,

P.C., and allege as follows:

                                    I.      INTRODUCTION

       1.      On July 19, 2018, seventeen people had their lives tragically and horrifically

taken from them when the Ride the Ducks Stretch Duck 07 Duck Boat sank to the bottom of

Table Rock Lake in Branson, Missouri.

       2.      As Stretch Duck 07 sank, the canopy of the Duck Boat entrapped passengers and

dragged them to the bottom of the lake with the Duck Boat.

       3.      On that day, Defendants, Ripley Entertainment, Inc. and/or Branson Duck

Vehicles, LLC (hereinafter “Ripley”), owned and operated Stretch Duck 07 and recklessly risked

the lives of its passengers for purely financial reasons.

       4.      Despite being aware of impending severe weather conditions, Ripley intentionally

decided to take the Duck Boat out onto Table Rock Lake instead of cancelling the tour and

refunding the patrons’ money.



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          5.    Stretch Duck 07 was designed and manufactured by Defendants, Ride the Ducks,

International, LLC, Ride the Ducks of Branson, LLC, Herschend Family Entertainment

Corporation and/or Amphibious Vehicle Manufacturing, LLC. These Defendants will be

collectively referred to as “RTDI”, unless otherwise indicated.

          6.    This tragedy was the predictable and predicted result of decades of unacceptable,

greed-driven, and willful ignorance of safety by the Duck Boat industry in the face of specific

and repeated warnings that their Duck Boats are death traps for passengers and pose grave

danger to the public on water and on land.

          7.    Prior to this catastrophe, the Duck Boat industry knew that their Duck Boats were

entirely unfit to be used for any purpose and had previously been responsible for dozens of

deaths.

          8.    Prior to killing seventeen people in Branson, injuring fourteen others, and ruining

the lives of countless more, Defendants had been told that design flaws in the Duck Boats made

them more susceptible to sinking.

          9.    On numerous occasions before July 19, 2018, Defendants were warned that the

canopies used on their Duck Boats were dangerous and created death traps for passengers in the

event of emergency.

          10.   For two decades, Defendants had been repeatedly told to change the design of

their Duck Boats to make them safer, but they entirely ignored these warnings.

          11.   As recently as August 2017, Defendants were again warned that the dangerous

design of their Duck Boats put their vessels at risk of sinking.

          12.   Upon information and belief, in August 2017, prior to purchasing the Branson

operations of RTDI, Ripley hired an inspector, Steven Paul, to inspect the Branson Duck Boats.




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       13.     Defendants were told by Steven Paul that their Duck Boats’ engines and the bilge

pumps that remove water from their hulls might fail in bad conditions due to the improper

placement of the boats’ exhaust system.

       14.     Defendants did nothing in response to these warnings.

       15.     Despite the fact that Defendants knew their Duck Boats were unfit to be used

even in ideal conditions, on the date of this catastrophe, Defendants’ greed caused them to ignore

severe weather conditions that demanded they cancel all trips scheduled for their Duck Boats.

       16.     Despite countless explicit warnings, Defendants repeatedly chose to value profits

over the safety of their passengers, and sent Stretch Duck 07 and thirty-one people out on Table

Rock Lake on July 19, 2018, where the vessel took on water and sank to the bottom of the lake,

dragging seventeen innocent victims to their avoidable deaths and causing life-altering injuries to

the fourteen people who survived.

       17.     Plaintiffs bring this lawsuit demanding monetary damages, as required by law, but

also demanding that Defendants immediately cease manufacturing and operating all Duck Boats

in the United States and abroad, and demanding that Defendants support the efforts to ensure that

all others in the Duck Boat industry cease operations until Duck Boats are made unsinkable and

their canopies are removed.

                                        II.    PARTIES

       18.     Plaintiffs, Ronita McKinley and Gary McKinley, husband and wife, are adult

citizens of New Mexico, residing at 2508 N. Crown Circle, Carlsbad, NM 88220.

       19.     Plaintiff, Shayne Collins, is an adult citizen of New Mexico, residing at

2515 N. Crown Circle, Carlsbad, NM 88220.




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       20.     Plaintiff, Tiffany Collins, is an adult citizen of New Mexico, residing at

2515 N. Crown Circle, Carlsbad, NM 88220.

       21.     Plaintiff, Tiffany Collins, is the parent and natural guardian of T.K., a minor, who

has resided with Plaintiff, Tiffany Collins at 2515 N. Crown Circle, Carlsbad, NM 88220, at all

times relevant hereto.

       22.     Plaintiff, Talyssa Mann, is an adult citizen of New Mexico, residing at 4424 E.

Baseline Road, Phoenix, AZ 85042.

       23.     Plaintiffs, Tomlyn McDonald and Dustin McDonald, husband and wife, are adult

citizens of Texas, residing at 3600 Boyd Avenue, Midland, TX 79705.

       24.     Plaintiffs, Tomlyn McDonald and Dustin McDonald, are the parents and natural

guardians of Ca.M., a minor, who has resided with Plaintiffs, Tomlyn McDonald and Dustin

McDonald, at 3600 Boyd Avenue, Midland, TX 79705, at all times relevant hereto.

       25.     Plaintiffs, Tomlyn McDonald and Dustin McDonald, are the parents and natural

guardians of Ch.M., a minor, who has resided with Plaintiffs, Tomlyn McDonald and Dustin

McDonald, at 3600 Boyd Avenue, Midland, TX 79705, at all times relevant hereto.

       26.     Defendant, Ripley Entertainment, Inc., d/b/a Ride the Ducks, is a corporation

organized and existing under the laws of the State of Florida with a registered corporate

Headquarters at 7576 Kingspointe Pkwy – Suite 188 in Orlando, FL, 32819 which at all times

relevant herein engaged in substantial, continuous, regular and systematic business in the State of

Missouri.

       27.     At all relevant times herein, Defendant, Ripley Entertainment, Inc., d/b/a Ride the

Ducks, acted by and through its respective agents, servants, workmen and employees acting

within the scope of their authority and employment.




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       28.     Defendant, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, is a corporation

organized and existing under the laws of the State of Missouri with its principal place of business

located at 2320 W. Highway 76, Branson, MO 65616, which at all times relevant herein engaged

in substantial, continuous, regular and systematic business in the State of Missouri.

       29.     At all relevant times herein, Defendant, Branson Duck Vehicles, LLC, d/b/a Ride

the Ducks, acted by and through its respective agents, servants, workmen and employees acting

within the scope of their authority and employment.

       30.     Defendant, Ride the Ducks International LLC, d/b/a Ride the Ducks, is a

corporation organized and existing under the laws of the State of Missouri with a registered

agent for service of process at Capitol Corporate Services, Inc., 222 E. Dunklin Street, Suite 102,

Jefferson City, MO 65101, which at all times relevant herein engaged in substantial, continuous,

regular and systematic business in the State of Missouri.

       31.     At all relevant times herein, Defendant, Ride the Ducks International LLC, d/b/a

Ride the Ducks, acted by and through its respective agents, servants, workmen and employees

acting within the scope of their authority and employment.

       32.     Defendant, Ride the Ducks of Branson, LLC, d/b/a Ride the Ducks, is a

corporation organized and existing under the laws of the State of Missouri with a registered

agent for service of process at 2320 W. Highway 76, Branson, MO 65616, which at all times

relevant herein engaged in substantial, continuous, regular and systematic business in the State of

Missouri.

       33.     At all relevant times herein, Defendant, Ride the Ducks of Branson, LLC, d/b/a

Ride the Ducks, acted by and through its respective agents, servants, workmen and employees

acting within the scope of their authority and employment.




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       34.     Defendant, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks,

is a corporation organized and existing under the laws of the State of Missouri with its principal

place of business located at 2800 W. 76 Country Boulevard, Branson, MO 65616, which at all

times relevant herein engaged in substantial, continuous, regular and systematic business in the

State of Missouri.

       35.     At all relevant times herein, Defendant, Herschend Family Entertainment

Corporation, d/b/a Ride the Ducks, was acting by and through its respective agents, servants,

workmen and employees acting within the scope of their authority and employment.

       36.     Defendant, Amphibious Vehicle Manufacturing, LLC, is a corporation organized

and existing under the laws of the State of Missouri with a registered agent for service of process

at 2320 W. Highway 76, Branson, MO 65616, which at all times relevant herein engaged in

substantial, continuous, regular and systematic business in the State of Missouri.

       37.     At all relevant times herein, Defendant, Amphibious Vehicle Manufacturing,

LLC, was acting by and through its respective agents, servants, workmen and employees acting

within the scope of their authority and employment.

       38.     On December 18, 1996, Ride the Ducks of Branson, Inc. was created by way of

the filing of Articles of Incorporation.

       39.     In 2001, the RTDI Defendants partnered with Herschend Family Entertainment

Corporation in pursuit of national and international expansion.

       40.     On November 15, 2001, Ride the Ducks International, LLC was created by way

of filing Articles of Organization.

       41.     On November 16, 2001, an Amendment of Articles of Incorporation of Ride the

Ducks of Branson, Inc., was filed, changing the corporation’s name to RFMC Investments, Inc.




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       42.     On November 19, 2001, Ride the Ducks of Branson, LLC was created by way of

filing Articles of Organization.

       43.     On November 19, 2001, Amphibious Vehicle Manufacturing, LLC was created

by way of filing Articles of Organization.

       44.     In 2004, Defendant, Herschend Family Entertainment Corporation, became the

sole owner of Ride the Ducks.

       45.     On October 27, 2005, Ride the Ducks of Branson, LLC filed Notices and Articles

of Merger of Limited Liability Companies, merging with Ride the Ducks of Memphis, LLC,

Ride the Ducks of San Diego, LLC, Ride the Ducks of Baltimore, LLC, Ride the Ducks of

Philadelphia, LLC, Ozarks Scenic Tours, LLC, Amphibious Vehicle Manufacturing, LLC, Duck

Development, LLC, and Ride the Ducks International, LLC.

       46.     Given the interrelated nature of the RTDI Defendants in this litigation, they are

referred to collectively unless otherwise indicated.

       47.     On November 29, 2017, Branson Duck Vehicles, LLC was created by way of

filing Articles of Organization.

       48.     In December 2017, Defendant, Ripley Entertainment, Inc., acquired the Branson

operations of the RTDI Defendants, as well as its vehicles, which were designed and

manufactured by the RTDI Defendants.

       49.     RTDI continues to operate as the nation’s largest amphibious tour operator with a

fleet of nearly 100 vessels which carry over 1 million guests annually.

       50.     RTDI’s continued existence poses a threat to the lives of its guests and the public

through its operation of these dangerous Duck Boats.




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                             III.    JURISDICTION AND VENUE

       51.     The Court has jurisdiction over the subject matter of this action pursuant to

28 USC § 1332(a) because the matter in controversy exceeds the jurisdictional threshold,

exclusive of costs, it is between citizens of different states, and because the defendants each have

certain minimum contacts with the State of Missouri such that the maintenance of the suit in this

district does not offend traditional notions of fair play and substantial justice.

       52.     Venue in the United States District Court for the Western District of Missouri is

proper pursuant to 28 USC § 1391(a)(2) because a substantial part of the events or omissions

giving rise to Plaintiffs’ claims and causes of action occurred in this judicial district, and because

Defendants were subject to personal jurisdiction in this judicial district at the time of the

commencement of the action.

                                           IV.     FACTS

The Deadly History of Duck Boats

       53.     Prior to the tragic events of July 19, 2018, Defendants knew that their Duck Boats

were inherently unsafe given that from 1999 to 2016, Duck Boats were directly responsible for

the deaths of dozens of innocent people.




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       54.       On May 1, 1999, the Miss Majestic Duck Boat sank on Lake Hamilton,

Arkansas, drowning 13 Duck Boat passengers.

       55.       In December 1999, the National Transportation Safety Board (“NTSB”) held a

public forum on amphibious passenger vehicle safety, which was attended by members of the

amphibious passenger vehicle industry and technical experts, including members of RTDI such

as Robert F. McDowell, then president of Ride the Ducks Branson.

       56.       Prior to July 19, 2018, Defendants were well aware of the Miss Majestic tragedy,

which was a topic of frequent discussion in the industry.

       57.       On February 18, 2000, based on its investigation of the Miss Majestic accident

and the information presented at the forum about the vulnerability of amphibious passenger

vehicles to flooding and sinking, the NTSB Safety Board issued the following safety

recommendation to 30 operators and re-furbishers of amphibious passenger vehicles in the

United States:


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              M-00-5

              Without delay, alter your amphibious vessels to provide reserve
              buoyancy through passive means, such as watertight
              compartmentalization, built-in flotation, or equivalent measures,
              so that they will remain afloat and upright in the event of
              flooding, even when carrying a full complement of passenger and
              crew.

       58.    Defendants received this recommendation and read it before July 19, 2018.

       59.    RTDI specifically responded to the NTSB’s recommendation, writing a letter to

Jim Hall, Chairman of the NTSB on June 26, 2000, in an attempt to refute the NTSB’s M-00-5

Safety Recommendation.

       60.    In this letter, Robert McDowell admitted that the significant costs associated with

making their Duck Boats safer posed a roadblock to adopting the NTSB’s recommendations:




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       61.     Robert McDowell’s challenge of the NTSB chairman and the NTSB safety

recommendation was driven solely by an attempt to value profits over the safety of Defendants’

passengers as Mr. McDowell had no training or formal academic background in engineering.

       62.     Robert McDowell designed and developed “stretch duck” boats, including Stretch

Duck 07.

       63.     Upon information and belief, Robert McDowell completed just two years of

college and had no background, training or certification in mechanics to support his claims

regarding alternative designs.

       64.     Upon information and belief, Robert McDowell’s design was based entirely upon

conversations with a high school football coach who previously co-owned the Ride the Ducks

business.

       65.     Upon information and belief, Robert McDowell “self-educated by going to auto

parts stores and talking to different people” and did not consult with any engineers when

designing the stretch Duck Boats.

       66.     On August 16, 2000, Jim Hall, chairman of the NTSB, responded directly to

Robert McDowell’s attempt to rebuff the NTSB recommendations, emphasizing that the

recommendations were made “because the Board believed that immediate action was necessary

to avoid additional loss of life”:




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       67.     Despite the NTSB chairman’s warning directed to Robert McDowell and to

Defendants that immediate action was necessary to avoid additional loss of life, Defendants

ignored this warning.

       68.     On April 2, 2002, the NTSB adopted and published a report entitled “Marine

Accident Report Sinking of the Amphibious Passenger Vehicle Miss Majestic, Lake Hamilton,

Near Hot Springs, Arkansas, May 1, 1999.”

       69.     According to the NTSB’s Miss Majestic report, “[o]ne major outcome of the

forum was the realization by participants that amphibious vehicles pose unique and unresolved

safety risks to the public, but that the vehicles could be made safe by installing safety features

that would prevent them from sinking when flooded.”


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       70.     Despite this realization, the NTSB report noted that there was a “negative

response from amphibious passenger vehicle owners concerning the practicality of providing

reserve buoyancy to DUKW boats”, leading to the unacceptable conclusion that “voluntary

action will not be taken by the rest of the industry to address the need for adequate reserve

buoyancy on amphibious passenger vehicles”.

       71.     As a result, the NTSB report maligned that “an unacceptable level of risk to

passenger safety continues to exist in these vehicles”.

       72.     The NTSB noted that the need for additional passenger safety features was

heightened considering the fact that “[t]his unique vehicle is often promoted to and used by

school groups”.

       73.     Specifically, the Safety Board was “particularly concerned that both adults and

children wearing lifejackets are at risk of being drowned if entrapped by the overhead canopy”.

       74.     The NTSB’s Miss Majestic report found that the canopy over passengers’ heads

“essentially caged them, making escape in limited time available extremely difficult”.

       75.     The report also noted that “the natural buoyancy of the passengers’ bodies forced

them into the overhead canopy, which acted like a net to entrap them and to prevent their vertical

escape.”

       76.     The Safety Board specifically warned that “on amphibious passenger vehicles that

cannot remain afloat when flooded, canopies can represent an unacceptable risk to passenger

safety”, determining that “a more realistic approach to ensure passenger safety would be to

afford passengers a reasonable opportunity to escape by removing the canopy”.




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       77.     If the caging canopies were removed, the Safety Board noted that “wearing

lifejackets before the vehicle enters the water would enhance the safety of passengers on board

DUKWs without adequate reserve buoyancy where canopies have been removed”.

       78.     Ultimately, the NTSB issued the following “Conclusions”:

               3.      The canopy on the Miss Majestic was a major impediment to the survival
                       of the passengers.

               9.      On amphibious passenger vehicles that cannot remain afloat when
                       flooded, canopies can represent an unacceptable risk to passenger safety.

               10.     Wearing lifejackets before the vehicle enters the water would enhance the
                       safety of passengers on board DUKWs without adequate reserve buoyancy
                       where canopies have been removed.

       79.     The NTSB report concluded by stating that contributing to the sinking “was a

flaw in the design of DUKWs as converted for passenger service, that is, the lack of adequate

reserve buoyancy that would have allowed the vehicle to remain afloat in a flooded condition”,

and contributing to the high loss of life “was a continuous canopy roof that entrapped passengers

within the sinking vehicle”.

       80.     The conclusions of the NTSB report were ignored and disregarded by Defendants.

       81.     On June 23, 2002, just two months after the NTSB’s report, the Lady Duck sank

in the Ottawa River.

       82.     Four passengers, including a mother and her two young children, were trapped

under the sinking boat’s canopy and ultimately drowned. Even more tragically, these victims

were able to put on life jackets but were caged in the canopy and dragged down with the boat.

       83.     Subsequent investigation revealed that, in addition to the canopy’s failures, a

failure of the Lady Duck’s bilge pump contributed to this tragedy.




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       84.      The dangers and unacceptable risks of Duck Boats were further highlighted by

the July 7, 2010 tragedy where DUKW 34 sank in Philadelphia and resulted in the deaths of

two Hungarian tourists, Dora Schwendtner and Szabolcs Prem.

       85.     A collision between DUKW 34 and a barge caused the Duck Boat to sink.

       86.     Due to the defective canopy design on the Duck Boat, Dora and Szabolcs were

caged in the canopy and dragged down with the vessel, causing their horrific and excruciating

deaths by drowning.

       87.     Representatives from RTDI were repeatedly told during the litigation that ensued

of the dangers of their canopy design and the fact that engineering analysis established that the

Duck Boat was defective and should not be in use.

       88.     In addition to being dangerous on water, Duck Boats are deadly on land.

       89.     On May 8, 2015, Elizabeth Karnicki was run over and killed by a Duck Boat

owned and operated by RTDI in Philadelphia, PA while her husband was forced to watch.

       90.     The operator of DUKW 46 failed to observe Elizabeth Karnicki lawfully crossing

in front of his vehicle due to his lack of situational awareness and the massive blind spots on the

Duck Boat caused by the bow in front of the operator which blocked him from being able to see

the pedestrian in front of him.

       91.     Four months later, on September 24, 2015, the front axle of a Duck Boat broke in

Seattle, causing a horrific accident with a bus which left five dead and injured sixty-nine.

       92.     Prior to the Seattle tragedy, RTDI was aware of a front axle defect in its Duck

Boats but failed to issue the appropriate recall, a flagrant violation of applicable law, which

would have prevented this horrible accident.




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       93.     On April 30, 2016, a Duck Boat caused tragedy again when a Boston woman was

run over while riding her scooter.

       94.     Twenty-eight-year-old Allison Warmuth tragically died as the result of an

inattentive Duck Boat driver, who was seen on video, turned in his seat and pointing out

landmarks when he ran over Ms. Warmuth with the 2.5 ton vessel.

The Branson Operation was Warned About its Defective Duck Boats Last Year

       95.     Upon information and belief, in August 2017, prior to purchasing the Branson

operations of RTDI, Ripley hired inspector Steven Paul to inspect the Duck Boats used by the

Branson operation, including Stretch Duck 07.

       96.     According to Mr. Paul, his inspection was conducted “so [Ripley] had the

opportunity to know what they were buying before the sale was final”.

       97.     Upon information and belief, Steven Paul warned Defendants that the design of

their Duck Boats put their vessels at risk of sinking.

       98.     Upon information and belief, the chassis for Stretch Duck 07 was originally built

in 1944 and used a four-ton-truck-chassis.

       99.     Defendants’ decision to use the chassis from the 1940s was for the purpose of

avoiding modern safety and emissions standards.

       100.    Upon information and belief, Defendants were specifically told in August 2017

that the dangerous design of the Duck Boats rendered them susceptible to sinking in the event of

rough conditions on the water due to the improper placement of the motor’s exhaust in front of

the boat and below the water line.

       101.    According to reports, Mr. Paul told Defendants that “in rough conditions, water

could get into the exhaust system, and then into the motor, cutting it off”.




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       102.     Upon information and belief, this warning was ignored and nothing was done.

       103.     The rough conditions warned of by Mr. Paul were the exact conditions faced by

Stretch Duck 07 on Table Rock Lake on July 19, 2018.

The Tragic Events of July 19, 2018

       104.     Defendants’ Stretch Duck 07 should have never been on the water on the date of

this tragedy.

       105.     Jim Pattison, Jr., Ripley’s president, admitted as much when asked in an interview

if the boat should have been on the water, replying “no, it shouldn’t have been in the water”.

       106.     At 11:24 a.m. on the morning of July 19, 2018, the National Weather Service

issued a severe thunderstorm watch for much of southwest Missouri, including Table Rock Lake.




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       107.    The severe thunderstorm watch was in effect from 11:20 a.m. until 9:00 p.m. on

July 19, 2018, and cautioned “widespread damaging winds likely with isolated significant gusts

to 75 mph possible”.

       108.    The risk of severe storms on July 19, 2018 was highlighted by the National

Weather Service as early as the day before this tragedy, with the July 18, 2018 outlook issued by

its Storm Prediction Center cautioning of the possibility of “damaging wind risk” the next day.

       109.    Despite the prior day’s warnings and that morning’s severe thunderstorm watch,

Ripley prioritized profits over safety and continued normal business operations on July 19, 2018.

       110.    At 6:32 p.m., the warning was upgraded to a severe thunderstorm warning,

specifically for Taney, Stone, and Barry counties, including Table Rock Lake, specifically

warning that the area was to experience winds of up to 60 miles per hour.




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       111.    In the face of this second, heightened warning, Ripley continued to prioritize

profits over safety and carried on with normal business operations, sending Ride the Ducks

Stretch Duck 07 out on Table Rock Lake with thirty-one people on board, including Ronita

McKinley, Shayne Collins, Tiffany Collins, T.K., a minor, Talyssa Mann, Tomlyn McDonald,

Ca.M., a minor, and Ch.M., a minor.

       112.    Previously, Ripley had marketed and sold tickets to these passengers for a tourist

trip on the amphibious vehicle which was to first include a tour through the streets of Branson,

followed by a cruise on Table Rock Lake.

       113.    The subject tour was scheduled to begin at 6:30 p.m.

       114.    Upon information and belief, at 6:28 p.m., the Captain and Driver of Stretch

Duck 07 were told to modify the tour schedule and take the water portion before the land portion

in an effort to beat the storm.

       115.    As passengers began to board the vessel, the Captain acknowledged that he had

monitored the weather radar before the trip.

       116.    At approximately 6:50 p.m., the Captain began a safety briefing before the boat

entered the water.

       117.    During this briefing, passengers were told they would not need their life jackets.

       118.    This Captain was specifically trained, consistent with RTDI policy, that he was to

forego water entry if severe weather was approaching the area, if there was a risk of winds

exceeding 35 miles per hour, or if waves might be higher than 2.5 feet.

       119.    Thus, by entering the water when severe weather was approaching, Ripley

violated its own policies and the policies that previously existed under RTDI.




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       120.      In addition to the violations of Ripley and RTDI policies, entering the water when

severe weather was approaching was an explicit violation of Coast Guard policies.

       121.      According to the Coast Guard’s conditions of operation imposed following its

January 2017 inspection of Stretch Duck 07, the vessel was prohibited from waterborne

operations “when winds exceed thirty-five (35) miles per hour, and/or the wave height exceeds

two (2) feet”.




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       122.      Weather reports called for winds up to sixty miles per hour, nearly double the

maximum allowed by the Coast Guard for waterborne operations.

       123.      After Stretch Duck 07 entered the water, the well-predicted storm arrived and the

Duck Boat encountered waves as high as four feet on Table Rock Lake.




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       124.    At this point, company policy and Coast Guard regulations mandated that the

Captain instruct passengers to put on their life jackets.

       125.    Again the Captain violated protocol and never gave this instruction.

       126.    Instead, the Captain lowered the plastic side curtains, thus further caging

passengers in the soon-to-sink vessel.

       127.    Due to the defective design of the Duck Boat, Stretch Duck 07 struggled to fight

through these waves, with its bow going under the surface of Table Rock Lake.




       128.    Due to the defective design of the Duck Boat, Stretch Duck 07 was unable to stay

above the surface of Table Rock Lake, taking on water and slowly sinking lower in the lake with

each additional gallon of water that poured in.




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       129.    Due to the dangerous and defective canopy of Stretch Duck 07, its passengers

were caged inside the Duck Boat as it sank below the surface of Table Rock Lake.

       130.    As a direct and proximate result of Defendants’ carelessness, negligence, gross

negligence, recklessness, outrageous conduct, and complete disregard for the welfare of their

passengers, seventeen people were dragged to their horrific deaths when Stretch Duck 07 sank to

the bottom of Table Rock Lake, with the fourteen survivors suffering life-altering injuries.

       131.    As the Duck Boat sank to the bottom of Table Rock Lake, the canopy caged

passengers in and dragged them down with the Duck Boat.

       132.    In addition to the excruciating deaths suffered by the Duck Boats victims, other

passengers on Stretch Duck 07, including Plaintiffs, Ronita McKinley. Shayne Collins, Tiffany

Collins, T.K., a minor, Talyssa Mann, Tomlyn McDonald, Ca.M., a minor, and Ch.M., a minor,

sustained serious and life-altering physical, mental, and emotional injuries.

       133.    Plaintiff, Ronita McKinley, suffered physical, mental, and emotional injuries

including, but not limited to, severe water inhalation injuries, pneumonia, flooding of internal

organs, fractured ribs, decrease of heart function, severe chest pain, lung injuries, shortness of

breath, difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all

of which have required and may in the future require hospital treatment, psychiatric treatment,


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neurological treatment, and other rehabilitative and medical procedures. She has sustained and

may in the future continue to sustain lost wages and a loss of earning capacity. She has incurred

and may in the future continue to incur out-of-pocket medical expenses.

       134.    Plaintiff, Shayne Collins, suffered physical, mental, and emotional injuries

including, but not limited to, water inhalation injuries, severe chest pain, shortness of breath,

difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all of

which have required and may in the future require hospital treatment, psychiatric treatment,

neurological treatment, and other rehabilitative and medical procedures. He has sustained and

may in the future continue to sustain lost wages and a loss of earning capacity. He has incurred

and may in the future continue to incur out-of-pocket medical expenses.

       135.    Plaintiff, Tiffany Collins, suffered physical, mental, and emotional injuries

including, but not limited to, severe water inhalation injuries, severe chest pain, shortness of

breath, difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all

of which have required and may in the future require hospital treatment, psychiatric treatment,

neurological treatment, and other rehabilitative and medical procedures. She has sustained and

may in the future continue to sustain lost wages and a loss of earning capacity. She has incurred

and may in the future continue to incur out-of-pocket medical expenses.

       136.    Plaintiff, T.K., a minor, suffered physical, mental, and emotional injuries

including, but not limited to, water inhalation injuries, severe chest pain, shortness of breath,

difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all of

which have required and may in the future require hospital treatment, psychiatric treatment,

neurological treatment, and other rehabilitative and medical procedures. He may in the future




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sustain lost wages and a loss of earning capacity. He has incurred and may in the future continue

to incur out-of-pocket medical expenses.

       137.    Plaintiff, Talyssa Mann, suffered physical, mental, and emotional injuries

including, but not limited to, severe water inhalation injuries, severe chest pain, shortness of

breath, difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all

of which have required and may in the future require hospital treatment, psychiatric treatment,

neurological treatment, and other rehabilitative and medical procedures. She has sustained and

may in the future continue to sustain lost wages and a loss of earning capacity. She has incurred

and may in the future continue to incur out-of-pocket medical expenses.

       138.    Plaintiff, Tomlyn McDonald, suffered physical, mental, and emotional injuries

including, but not limited to, severe water inhalation injuries, severe chest pain, shortness of

breath, difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all

of which have required and may in the future require hospital treatment, psychiatric treatment,

neurological treatment, and other rehabilitative and medical procedures. She has sustained and

may in the future continue to sustain lost wages and a loss of earning capacity. She has incurred

and may in the future continue to incur out-of-pocket medical expenses.

       139.    Plaintiff, Ca.M., a minor, suffered physical, mental, and emotional injuries

including, but not limited to, water inhalation injuries, severe chest pain, shortness of breath,

difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all of

which have required and may in the future require hospital treatment, psychiatric treatment,

neurological treatment, and other rehabilitative and medical procedures. He may in the future

sustain lost wages and a loss of earning capacity. He has incurred and may in the future continue

to incur out-of-pocket medical expenses.




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       140.    Plaintiff, Ch.M., a minor, suffered physical, mental, and emotional injuries

including, but not limited to, water inhalation injuries, severe chest pain, shortness of breath,

difficulty breathing, vomiting, exacerbation of previous conditions, and other injuries, all of

which have required and may in the future require hospital treatment, psychiatric treatment,

neurological treatment, and other rehabilitative and medical procedures. She may in the future

sustain lost wages and a loss of earning capacity. She has incurred and may in the future

continue to incur out-of-pocket medical expenses.

       141.    Prior to July 19, 2018, Defendants knew that Duck Boats are deadly on the land

and on the water.

       142.    Prior to July 19, 2018, Defendants knew that their Duck Boats’ minimal

usefulness as a product is outweighed by the grave danger they pose to the community.

       143.    Despite Defendants’ knowledge, they chose to value profits over the safety of

their passengers and sent thirty-one people in Stretch Duck 07 out on Table Rock Lake on July

19, 2018, willfully and intentionally placing them directly in harm’s way.

       144.    The injuries and death sustained as a result of this tragedy were caused as a direct

and proximate result of the negligence, gross negligence, carelessness, recklessness and/or other

liability-producing conduct of Defendants.

       145.    As a result, Plaintiffs claim damages for all general, special, incidental and

consequential damages incurred, or to be incurred, by Plaintiffs including, among other things,

damages for their pain and suffering, damages for their past and future lost wages and loss of

earning capacity, damages for their past and future medical expenses, and damages for the loss

of the services, consortium, companionship, comfort, and support of their spouses.




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        146.    Plaintiffs also claim aggravating circumstances damages against Defendants to

punish Defendants and to deter others from like conduct.

        147.    Defendants, Ripley Entertainment, Inc., d/b/a Ride the Ducks, Branson Duck

Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks International LLC, d/b/a Ride the Ducks,

Ride the Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment

Corporation, d/b/a Ride the Ducks, and Amphibious Vehicle Manufacturing, LLC, are jointly

and severally liable for the catastrophic injuries sustained by Plaintiffs as a result of this

senseless tragedy.

                                   COUNT I – NEGLIGENCE

      PLAINTIFFS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS
          and BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS

        148.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

        149.    Defendants, Ripley Entertainment, Inc., d/b/a Ride the Ducks, and/or Branson

Duck Vehicles, LLC, d/b/a Ride the Ducks, owned and operated Stretch Duck 07 and owed

Plaintiffs a duty to act reasonably before conducting Duck Boat tours and to obey all waterway

and boating rules and standards while operating Duck Boats on Table Rock Lake.

        150.    Defendants, Ripley Entertainment, Inc., d/b/a Ride the Ducks, and/or Branson

Duck Vehicles, LLC, d/b/a Ride the Ducks, breached that duty and proximately caused the

injuries to Plaintiffs.

        151.    Defendants, Ripley Entertainment, Inc., d/b/a Ride the Ducks, and/or Branson

Duck Vehicles, LLC, d/b/a Ride the Ducks, by and through their respective agents, servants,

workmen and employees, were negligent, careless, grossly negligent and reckless both generally




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and in the following particular respects, all of which was within the privity and/or knowledge of

Defendants:

              a.      Failing to implement policies, procedures and crew training to ensure
                      passenger safety when Duck Boats were operating on Table Rock Lake;

              b.      Failing to develop and implement sufficient safety procedures for
                      emergency situations, including but not limited to, abandoning ship;

              c.      Failing to train their personnel how to properly operate Duck Boats in the
                      event of adverse weather;

              d.      Operating the Duck Boat in a careless and negligent manner;

              e.      Failing to exercise reasonable care under all of the circumstances;

              f.      Operating a vessel whose engine and/or exhaust system were in a known
                      poor state of repair;

              g.      Failing to have properly operating safety equipment on board;

              h.      Failing to distribute life jackets in a timely manner;

              i.      Failing to ensure that all passengers put on their life jackets and that the
                      jackets were properly secured;

              j.      Failing to requiring passengers to don life jackets when the Duck Boat was
                      confronted with severe weather while conducting waterborne operations,
                      in violation of Coast Guard regulations;

              k.      Failing to ensure that the captain and the crew were properly trained to
                      operate the Duck Boat;

              l.      Failing to properly train the crew in the proper and safe operation of the
                      Duck Boat;

              m.      Failing to maintain the Duck Boat in a reasonable manner;

              n.      Reversing the land portion of the tour and the water portion of the tour in
                      an attempt to beat a well-predicted storm;

              o.      Sending the Duck Boat onto the lake with knowledge of an approaching
                      storm;




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              p.     Sending the Duck Boat onto the lake in violation of the terms of its Coast
                     Guard permits;

              q.     Sending the Duck Boats onto the lake with a well-publicized, approaching
                     storm with predicted conditions that would violate the terms of its Coast
                     Guard permit;

              r.     Having actual knowledge of forecasted adverse weather conditions that
                     would affect the safety of the Duck Boat passengers and sending the Duck
                     Boat onto the lake;

              s.     Failing to recognize a risk to passenger safety in operating the Duck Boat
                     during a severe thunderstorm warning;

              t.     Failing to have a policy prohibiting operation of Duck Boats during a
                     severe thunderstorm warning;

              u.     Failing to train their personnel not to operate Duck Boats during a severe
                     thunderstorm warning;

              v.     Failing to properly monitor the weather;

              w.     Failing to have proper severe weather policies;

              x.     Failing to implement and/or follow standard operating procedures;

              y.     Failing to properly qualify the crew;

              z.     Failing to provide the fleet and/or crew with effective safety policies and
                     procedures;

              aa.    Failing to properly oversee the fleet and/or crew;

              bb.    Failing to correct conditions of unseaworthiness within their privity or
                     knowledge;

              cc.    Failing to have a competent crew piloting the vessel;

              dd.    Failing to have a seaworthy vessel that would remain afloat while flooded;

              ee.    Failing to incorporate the safety recommendations of the NTSB.

       152.   By reason of the carelessness, negligence, gross negligence and recklessness of

Defendants, Ripley Entertainment, Inc., d/b/a Ride the Ducks, and/or Branson Duck Vehicles,




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LLC, d/b/a Ride the Ducks, Plaintiffs were caused to sustain the serious, permanent, and

disabling personal injuries as set forth more fully above.

        153.   By conducting themselves as described above, Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, and/or Branson Duck Vehicles, LLC, d/b/a Ride the Ducks,

evidenced a reckless and/or conscious disregard for the rights and safety of others, including

Plaintiffs.

        154.   By conducting themselves as described above, the acts and/or omissions of the

Defendants, Ripley Entertainment, Inc., d/b/a Ride the Ducks, and/or Branson Duck Vehicles,

LLC, d/b/a Ride the Ducks, were a substantial factor, a factual cause and/or increased the risk of

harm of Plaintiffs’ catastrophic injuries.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, and Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, jointly and

severally, for compensatory damages in excess of the jurisdictional threshold, along with

damages for delay, costs, fees, exemplary, aggravating circumstances damages, punitive

damages, and all other damages allowable and recoverable by law.

                         COUNT II - STRICT PRODUCT LIABILITY

PLAINTIFFS v. RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS,
  RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND
   FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
               AMPHIBIOUS VEHICLE MANUFACTURING, LLC

        155.   Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

        156.   Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, by and through their



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agents, servants, workers, contractors, designers, assemblers, manufacturers, sellers, suppliers

and distributors are strictly liable under Missouri Revised Statute § 537.760.1 because:

               a.     Defendants are engaged in the business of designing, manufacturing,
                      assembling, distributing, selling and/or supplying Duck Boats;

               b.     The Duck Boat involved in Plaintiffs’ accident was placed in the general
                      stream of commerce by Defendants;

               c.     The Duck Boat involved in Plaintiffs’ accident was put to use in a manner
                      reasonably anticipated by Defendants; and

               d.     The Duck Boat involved in Plaintiffs’ accident was designed,
                      manufactured, assembled, distributed and/or sold in a defective condition
                      for the reasons set forth below.

       157.    Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, by and through their

agents, servants, workers, contractors, designers, assemblers, manufacturers, sellers, suppliers

and distributors are strictly liable under Missouri Revised Statute § 537.760.1 by:

               a.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product in a defective condition;

               b.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product that was unreasonably dangerous for its intended use;

               c.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product that was not safe for all of its intended and represented purposes;

               d.     Failing to have adequate warnings/instructions on and/or with the Duck
                      Boat;

               e.     Failing to provide adequate warnings/instructions to the ultimate users of
                      the product;

               f.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product which lacked all the necessary safety features;




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               g.      Designing, assembling, manufacturing, selling, supplying and distributing
                       a product that lacked appropriate safety devices;

               h.      Designing, manufacturing, assembling, selling, and/or supplying Duck
                       Boats without incorporating therein the state of the art of the industry and
                       the state of the art in the science and engineering;

               i.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats that lacked acceptable buoyancy;

               j.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats without following safety recommendations of the NTSB;

               k.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats in such a manner that passengers become entrapped within the
                       canopy of the boat in the event of swamping or capsizing;

               l.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats without a proper curtain emergency release system that could
                       be engaged by the Captain or Driver in the event of swamping or
                       capsizing;

               m.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats with the exhaust system improperly placed leaving the boats
                       exposed to risk of sinking in rough water conditions;

               n.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats with an open hood that was not watertight;

               o.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats that were insufficient and/or unsafe for their intended use.

       158.    By conducting themselves as stated, the actions and/or in-actions of Defendants,

Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a

Ride the Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and/or

Amphibious Vehicle Manufacturing, LLC, were substantial factors, a factual cause and/or

increased the risk of harm to Plaintiffs.

       159.    The Duck Boats were not equipped at the time they left the possession and control

of Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the Ducks of




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Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation, d/b/a Ride

the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, with every element necessary to

make them safe for their intended use, reasonably foreseeable uses, and reasonably foreseeable

misuses.

         160.   By reason of the breach of duties pursuant to Missouri Revised Statute

§ 537.760.1 of Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, by and through their

agents, servants, workmen, contractors, suppliers, distributors and/or employees, Plaintiffs were

caused to sustain the serious, permanent, and disabling personal injuries as set forth more fully

above.

         WHEREFORE, Plaintiffs demand judgment against Defendants, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

                                  COUNT III - NEGLIGENCE

PLAINTIFFS v. RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS,
  RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND
   FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
               AMPHIBIOUS VEHICLE MANUFACTURING, LLC

         161.   Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.



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       162.   At all relevant times herein and material hereto, Defendants, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and/or Amphibious

Vehicle Manufacturing, LLC, manufactured, designed, distributed, sold, installed, supplied,

and/or assembled Stretch Duck 07.

       163.   Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, by and through their

agents, servants, workers and employees were jointly and severally careless, negligent, grossly

negligent and/or reckless as follows, all of which was within the privity and knowledge of

Defendants:

              a.     Designing, assembling, manufacturing, selling, supplying and distributing
                     a product in a defective condition;

              b.     Designing, assembling, manufacturing, selling, supplying and distributing
                     a product that was unreasonably dangerous for its intended use;

              c.     Designing, assembling, manufacturing, selling, supplying and distributing
                     a product that was not safe for all of its intended and represented purposes;

              d.     Failing to have adequate warnings/instructions on and/or with the Duck
                     Boat;

              e.     Failing to provide adequate warnings/instructions to the ultimate users of
                     the product;

              f.     Failing to either know of prior accidents and injuries with the product
                     and/or failing to correct and prevent the same accidents and injuries from
                     reoccurring;

              g.     Designing, assembling, manufacturing, selling, supplying and distributing
                     a product which lacked all the necessary safety features;

              h.     Failing to either know of prior accidents and injuries with the product
                     and/or failing to correct and prevent the same accidents and injuries from
                     reoccurring;


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              i.     Designing, assembling, manufacturing, selling, supplying and distributing
                     a product that lacked appropriate safety devices;

              j.     Designing, manufacturing, assembling, selling, and/or supplying Duck
                     Boats without incorporating therein the state of the art of the industry and
                     the state of the art in the science and engineering;

              k.     Designing, assembling, manufacturing, selling, supplying and distributing
                     Duck Boats that lacked acceptable buoyancy;

              l.     Designing, assembling, manufacturing, selling, supplying and distributing
                     Duck Boats without following safety recommendations of the National
                     Transportation Safety Board;

              m.     Designing, assembling, manufacturing, selling, supplying and distributing
                     Duck Boats without a proper curtain emergency release system that could
                     be engaged by the Captain or Driver in the event of swamping or
                     capsizing;

              n.     Designing, assembling, manufacturing, selling, supplying and distributing
                     Duck Boats with the exhaust system improperly placed leaving the boats
                     exposed to risk of sinking in rough water conditions;

              o.     Designing, assembling, manufacturing, selling, supplying and distributing
                     Duck Boats with an open hood that was not watertight;

              p.     Designing, assembling, manufacturing, selling, supplying and distributing
                     Duck Boats that were insufficient and/or unsafe for their intended use.

       164.   Additionally, Defendants, Ride the Ducks International LLC, d/b/a Ride the

Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment

Corporation, d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, operated

the Branson Duck Boat operations for decades.

       165.   In that capacity, Defendants, Ride the Ducks International LLC, d/b/a Ride the

Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment

Corporation, d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, set policies




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and procedures for how Duck Boat operations would be conducted in Branson, which were later

adopted by Ripley.

       166.    Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, hired and trained

numerous personnel that were involved in the acts and omissions that led to this tragedy.

       167.    Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, by and through their

respective agents, servants, workmen and employees, were negligent, careless, grossly negligent

and reckless both generally and in the following particular respects, all of which was within the

privity and/or knowledge of Defendants:

               a.     Failing to implement policies, procedures and crew training to ensure
                      passenger safety when Duck Boats were operating on Table Rock Lake;

               b.     Failing to develop and implement sufficient safety procedures for
                      emergency situations, including but not limited to, abandoning ship;

               c.     Failing to train their personnel how to properly operate Duck Boats in the
                      event of adverse weather;

               d.     Operating the Duck Boat in a careless and negligent manner;

               e.     Failing to exercise reasonable care under all of the circumstances;

               f.     Operating a vessel whose engine and/or exhaust system were in a known
                      poor state of repair;

               g.     Failing to have properly operating safety equipment on board;

               h.     Failing to distribute life jackets in a timely manner;

               i.     Failing to ensure that all passengers put on their life jackets and that the
                      jackets were properly secured;




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             j.     Failing to ensure that the captain and the crew were properly trained to
                    operate the Duck Boat;

             k.     Failing to properly train the crew in the proper and safe operation of the
                    Duck Boat;

             l.     Failing to maintain the Duck Boat in a reasonable manner;

             m.     Failing to recognize a risk to passenger safety in operating the Duck Boat
                    during a severe thunderstorm warning;

             n.     Failing to have a policy requiring passengers to don life jackets when the
                    Duck Boat was confronted with severe weather while conducting
                    waterborne operations, in violation of Coast Guard regulations;

             o.     Failing to implement and/or follow standard operating procedures;

             p.     Failing to properly qualify the crew;

             q.     Failing to provide the fleet and/or crew with effective safety policies and
                    procedures;

             r.     Failing to properly oversee the fleet and/or crew;

             s.     Failing to correct conditions of unseaworthiness within their privity or
                    knowledge;

             t.     Failing to have a competent crew piloting the vessel;

             u.     Failing to have a policy prohibiting operation of Duck Boats during a
                    severe thunderstorm warning;

             v.     Failing to train their personnel not to operate Duck Boats during a severe
                    thunderstorm warning;

             w.     Failing to have proper policies or procedures for closing the hood of the
                    Duck Boat when encountering rough conditions on the water;

             x.     Failing to have a seaworthy vessel that would remain afloat while flooded;

             y.     Failing to incorporate the safety recommendations of the NTSB;

             z.     Failing to properly monitor the weather;

             aa.    Failing to have proper severe weather policies.

      168.   By reason of the carelessness, negligence, gross negligence and recklessness of

Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the Ducks of


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Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation, d/b/a Ride

the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, as aforesaid, Plaintiffs were caused

to sustain the serious, permanent, and disabling personal injuries as set forth more fully above.

       169.    By conducting themselves as set forth above, the acts and/or omissions of

Defendants, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the Ducks of

Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation, d/b/a Ride

the Ducks, and/or Amphibious Vehicle Manufacturing, LLC, were a substantial factor, a factual

cause and/or increased the risk of harm of Plaintiffs’ catastrophic injuries.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

              COUNT IV - OUTRAGEOUS CONDUCT (PUNITIVE DAMAGES)

    PLAINTIFFS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
     CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS VEHICLE
                         MANUFACTURING, LLC

       170.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       171.    At all times relevant hereto, Defendants’ conduct was beyond all possible bounds

of decency and should be regarded as atrocious and utterly intolerable in a civilized community.



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       172.    Defendants blatantly ignored the safety and design recommendations of the

National Transportation Safety Board following the 1999 Miss Majestic disaster and the 2010

fatal accident in Philadelphia.

       173.    Defendants egregiously ignored the written warnings of the private inspector who

told them, in August 2017, that the design of their Duck Boats put their vessels at risk of sinking.

       174.    Defendants acted outrageously by conducting waterborne operations in the face of

severe weather warnings.

       175.    Defendants blatantly disregarded the Coast Guard’s prohibitions and conditions of

operation by conducting waterborne operations when winds were almost double the maximum

allowed for Defendants to take Stretch Duck 07 on Table Rock Lake.

       176.    Defendant egregiously ignored the fact that their Duck Boats were responsible for

dozens of deaths prior to the Table Rock Lake disaster.




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       177.    Defendants knew that the defective and dangerous condition of Stretch Duck 07

posed a very high risk of serious bodily injury and/or death to passengers.

       178.    Defendants knowingly, willfully, and intentionally failed to take proper and

recommended action to make their Duck Boats safe for passengers.

       179.    Defendants failed to incorporate the NTSB safety recommendations and safety

designs to save money.

       180.    Defendants put profits over people and exposed their passengers to unsafe

conditions and hazards to improve their bottom line.

       181.    Defendants’ conduct rises to the level of outrageous conduct by willfully and

recklessly ignoring the known dangerous condition of Stretch Duck 07 which caused Plaintiffs’

catastrophic injuries.

       182.    Defendants acted in a willful, wanton and reckless disregard for the safety of their

passengers.

       183.    This and other misconduct constituted outrageous, willful and/or wanton

misconduct, and manifested a reckless indifference to the rights of others to support an award of

punitive damages and/or damages for aggravating circumstances.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating




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circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

          COUNT V - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

 RONITA McKINLEY v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
     CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS VEHICLE
                         MANUFACTURING, LLC

       184.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       185.    Ronita McKinley was a passenger on Stretch Duck 07 at the time of this tragedy.

       186.    In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, Ronita McKinley was in the zone of danger and was placed in danger of, and

actually suffered, physical injuries as set forth at length above.

       187.    In addition, Ronita McKinley witnessed as the thirty passengers of Stretch Duck

07 suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       188.    She was a bystander witnessing as her daughters, Tiffany and Tomlyn, her son-in-

law, Shayne, her granddaughters, Talyssa, Gillian, and Ch.M., a minor, and her grandsons, T.K.,

a minor, and Ca.M., a minor, struggled and eventually escaped the sinking Duck Boat.

       189.    In fighting for her life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

Ronita McKinley, in addition to her physical injuries, suffered further injuries including, but not

limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.




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       WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

         COUNT VI - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

 SHAYNE COLLINS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
     CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS VEHICLE
                         MANUFACTURING, LLC

       190.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       191.    Shayne Collins was a passenger on Stretch Duck 07 at the time of this tragedy.

       192.    In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, Shayne Collins was in the zone of danger and was placed in danger of, and actually

suffered, physical injuries as set forth at length above.

       193.    In addition, Shayne Collins witnessed as the thirty passengers of Stretch Duck 07

suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       194.    He was a bystander witnessing as his wife, Tiffany, his daughter, Gillian Collins,

his stepdaughter, Talyssa, his stepson, T.K., a minor, his mother-in-law, Ronita, his sister-in-law,




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Tomlyn, his niece, Ch.M., a minor, and his nephew, Ca.M., a minor, struggled and eventually

escaped the sinking Duck Boat.

       195.    In fighting for his life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

Shayne Collins, in addition to his physical injuries, suffered further injuries including, but not

limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.

       WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

         COUNT VII - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

 TIFFANY COLLINS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
     CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS VEHICLE
                         MANUFACTURING, LLC

       196.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       197.    Tiffany Collins was a passenger on Stretch Duck 07 at the time of this tragedy.




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       198.    In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, Tiffany Collins was in the zone of danger and was placed in danger of, and actually

suffered, physical injuries as set forth at length above.

       199.    In addition, Tiffany Collins witnessed as the thirty passengers of Stretch Duck 07

suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       200.    She was a bystander witnessing as her husband, Shayne, her daughter, Talyssa,

her son, T.K., her stepdaughter, Gillian, her mother, Ronita, her sister, Tomlyn, her nephew,

Ca.M., and her niece, Ch.M., struggled and eventually escaped the sinking Duck Boat.

       201.    In fighting for her life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

Tiffany Collins, in addition to her physical injuries, suffered further injuries including, but not

limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.

       WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.




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        COUNT VIII - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       TIFFANY COLLINS, individually and as parent and natural guardian of
    T.K., a minor v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
                   CORPORATION, d/b/a RIDE THE DUCKS, and
                AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       202.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       203.    T.K., a minor, was a passenger on Stretch Duck 07 at the time of this tragedy.

       204.    In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, T.K., a minor, was in the zone of danger and was placed in danger of, and actually

suffered, physical injuries as set forth at length above.

       205.    In addition, T.K., a minor, witnessed as the thirty passengers of Stretch Duck 07

suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       206.    He was a bystander witnessing as his mother, Tiffany, his stepfather, Shayne, his

sister, Talyssa, his stepsister, Gillian, his grandmother, Ronita, his aunt, Tomlyn, and his cousins,

Ca.M., a minor, and Ch.M., a minor, struggled and eventually escaped the sinking Duck Boat.

       207.    In fighting for his life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

T.K., a minor, in addition to his physical injuries, suffered further injuries including, but not

limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.

       WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks




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International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

         COUNT IX - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

  TALYSSA MANN v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
          CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS
                     VEHICLE MANUFACTURING, LLC

       208.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       209.    Talyssa Mann was a passenger on Stretch Duck 07 at the time of this tragedy.

       210.    In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, Talyssa Mann was in the zone of danger and was placed in danger of, and actually

suffered, physical injuries as set forth at length above.

       211.    In addition, Talyssa Mann witnessed as the thirty passengers of Stretch Duck 07

suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       212.    She was a bystander witnessing as her mother, Tiffany, her stepfather, Shayne,

her brother, T.K., a minor, her stepsister, Gillian, her grandmother, Ronita, her aunt, Tomlyn,

and her cousins, Ca.M., a minor, and Ch.M., a minor, struggled and eventually escaped the

sinking Duck Boat.




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       213.    In fighting for her life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

Talyssa Mann, in addition to her physical injuries, suffered further injuries including, but not

limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.

       WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

           COUNT X - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

   TOMLYN McDONALD v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE
  DUCKS, BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE
  DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF
       BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY
       ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
             AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       214.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       215.    Tomlyn McDonald was a passenger on Stretch Duck 07 at the time of this

tragedy.




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        216.   In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, Tomlyn McDonald was in the zone of danger and was placed in danger of, and

actually suffered, physical injuries as set forth at length above.

        217.   In addition, Tomlyn McDonald witnessed as the thirty passengers of Stretch Duck

07 suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

        218.   She was a bystander witnessing as her son, Ca.M., a minor, her daughter, Ch.M.,

a minor, her mother, Ronita, her sister, Tiffany, her brother-in-law, Shayne, her nieces, Talyssa

and Gillian, and her nephew, T.K., a minor, struggled and eventually escaped the sinking Duck

Boat.

        219.   In fighting for her life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

Tomlyn McDonald, in addition to her physical injuries, suffered further injuries including, but

not limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.

        WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.




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         COUNT XI - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

  TOMLYN McDONALD and DUSTIN McDONALD, individually and as parents and
 natural guardians of Ca.M., a minor v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE
  THE DUCKS, BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE
 THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
       OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY
          ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
                 AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       220.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       221.    Ca.M., a minor, was a passenger on Stretch Duck 07 at the time of this tragedy.

       222.    In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, Ca.M., a minor, was in the zone of danger and was placed in danger of, and actually

suffered, physical injuries as set forth at length above.

       223.    In addition, Ca.M., a minor, witnessed as the thirty passengers of Stretch Duck 07

suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       224.    He was a bystander witnessing as his mother, Tomlyn, his sister, Ch.M., a minor,

his grandmother, Ronita, his aunt, Tiffany, his uncle, Shayne, and his cousins, Talyssa, Gillian

and T.K., a minor, struggled and eventually escaped the sinking Duck Boat.

       225.    In fighting for his life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

Ca.M., a minor, in addition to his physical injuries, suffered further injuries including, but not

limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks




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International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

         COUNT XII - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

  TOMLYN McDONALD and DUSTIN McDONALD, individually and as parents and
 natural guardians of Ch.M., a minor v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE
  THE DUCKS, BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE
 THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
        OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY
          ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
                 AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       226.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       227.    Ch.M., a minor, was a passenger on Stretch Duck 07 at the time of this tragedy.

       228.    In the moments leading up to when Stretch Duck 07 sank to the bottom of Table

Rock Lake, Ch.M., a minor, was in the zone of danger and was placed in danger of, and actually

suffered, physical injuries as set forth at length above.

       229.    In addition, Ch.M., a minor, witnessed as the thirty passengers of Stretch Duck 07

suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       230.    She was a bystander witnessing as her mother, Tomlyn, her brother, Ca.M., a

minor, her grandmother, Ronita, her aunt, Tiffany, her uncle, Shayne, and her cousins, Talyssa,

Gillian, and T.K., a minor, struggled and eventually escaped the sinking Duck Boat.




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       231.    In fighting for her life in Table Rock Lake and escaping from the sinking Stretch

Duck 07, and as a result of witnessing the injuries caused to other passengers of Stretch Duck 07,

Ch.M., a minor, in addition to her physical injuries, suffered further injuries including, but not

limited to: emotional distress, psychological pain and suffering, severe mental anguish, and

other psychological, emotional, and mental injuries.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

                           COUNT XIII - LOSS OF CONSORTIUM

 GARY McKINLEY v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
          CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS
                     VEHICLE MANUFACTURING, LLC

       232.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       233.    Plaintiff, Gary McKinley, is and has been at all relevant times the husband of

Plaintiff, Ronita McKinley, and as such, is entitled to her society, companionship and services.

       234.    By reason of the Defendants’ carelessness, negligence, recklessness, gross

negligence, outrageous conduct, and other liability-producing conduct as aforesaid, Plaintiff-



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husband, Gary McKinley, has suffered the loss of consortium and has been deprived of his

wife’s love, companionship, comfort, affection, society, moral guidance, intellectual strength and

physical assistance and the loss of the assistance and earnings of Plaintiff-wife, Ronita

McKinley.

       WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

                           COUNT XIV - LOSS OF CONSORTIUM

DUSTIN McDONALD v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
          CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS
                     VEHICLE MANUFACTURING, LLC

       235.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       236.    Plaintiff, Dustin McDonald, is and has been at all relevant times the husband of

Plaintiff, Tomlyn McDonald, and as such, is entitled to her society, companionship and services.

       237.    By reason of the Defendants’ carelessness, negligence, recklessness, gross

negligence, outrageous conduct, and other liability-producing conduct as aforesaid, Plaintiff-

husband, Dustin McDonald, has suffered the loss of consortium and has been deprived of his



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wife’s love, companionship, comfort, affection, society, moral guidance, intellectual strength and

physical assistance and the loss of the assistance and earnings of Plaintiff-wife, Tomlyn

McDonald.

       WHEREFORE, Plaintiff demands judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

                          COUNT XV - VIOLATIONS OF THE
                     MISSOURI MERCHANDISING PRACTICES ACT

    PLAINTIFFS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS,
  BRANSON DUCK VEHICLES, LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS OF BRANSON,
    LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY ENTERTAINMENT
          CORPORATION, d/b/a RIDE THE DUCKS, and AMPHIBIOUS
                     VEHICLE MANUFACTURING, LLC

       238.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       239.    Missouri Revised Statute § 407.010, et seq., the Missouri Merchandising Practices

Act (or “MMPA”) makes unlawful the “act, use or employment by any person of any deception,

fraud, false pretense, false promise, misrepresentation, unfair practice or the concealment,

suppression, or omission of any material fact in connection with the sale or advertisement of any

merchandise in trade or commerce”. Mo. Rev. Stat. § 407.020 (1).




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        240.   Defendants sold tickets for the ill-fated Stretch Duck 07 tour of July 19, 2018, to

Plaintiffs.

        241.   The Stretch Duck 07 tour was a “service” as defined under Missouri Revised

Statute § 407.010, et seq.

        242.   The tickets purchased by or on behalf of Plaintiffs for the Stretch Duck 07 tour of

July 19, 2018, were purchased for their personal purpose.

        243.   Defendants represented to consumers, including Plaintiffs, that their Duck Boats

were equipped with the “latest in marine safety” and “modern safety equipment”.

        244.   Defendants assured consumers, including Plaintiffs, that the design of their Duck

Boats allowed them “to go into the water without being flooded”.

        245.   Defendants promised consumers, including Plaintiffs, that “the ducks use marine

design for maximum safety”.

        246.   Defendants also stated to consumers, including Plaintiffs, that their Duck Boats

were “state of the art”, and utilized “patented safety features that no other duck-style vehicle

has”.

        247.   Defendants promised consumers, including Plaintiffs, that “safety is our priority”.

        248.   By reason of Defendants’ conduct as set forth above, Defendants have engaged in

unfair or deceptive acts or practices in violation of the MMPA.

        249.   Defendants’ practices as described herein violate the MMPA because the

practices were and are intended to deceive consumers in connection with the sale of their

services and occurred in the course of conduct involving trade and commerce in Taney County,

located within the United States District Court for the Western District of Missouri.




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       250.    At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen and employees, violated the MMPA by making and disseminating untrue,

false, and misleading statements to consumers, including Plaintiffs, to promote the sale of their

services, or by causing untrue, false, and misleading statements their Duck Boats to be made or

disseminated to consumers, including Plaintiffs, in order to promote the sale and use of their

services. These untrue, false, and misleading statements included, but were not limited to:

               a.      Misrepresenting the truth about the unsafe nature of their Duck Boats;

               b.      Misrepresenting that their Duck Boats are safe;

               c.      Misrepresenting that their Duck Boats have the latest safety features;

               d.      Misrepresenting that safety is the priority of Defendants;

               e.      Misleading consumers to believe that their Duck Boats are safe;

               f.      Falsely claiming that their Duck Boats are safe;

               g.      Falsely claiming that their Duck Boats utilize state of the art safety
                       equipment;

               h.      Falsely omitting or minimizing the known dangers associated with their
                       Duck Boats.

       251.    At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen and employees, also violated the MMPA by making statements that omitted

or concealed material facts to promote the sale of their services.

       252.    At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen and employees, repeatedly failed to disclose or minimized material facts

about the known risks and dangers associated with their Duck Boats.

       253.    At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen, employees, and/or third parties, made and disseminated the foregoing untrue,




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false and misleading statements, and material omissions, through an array of marketing channels,

including, but not limited to, online, print, television, and social media advertising.

       254.    Defendants knew at the time of making or disseminating these misstatements and

material omissions, or causing these misstatements and material omissions statements to be made

or disseminated, that they were untrue, false, or misleading and therefore likely to deceive

consumers, including Plaintiffs.

       255.    In addition, Defendants knew or should have known that their marketing and

promotional efforts created an untrue, false, and misleading impression of the safety of their

Duck Boats.

       256.    In sum, Defendants: (a) directly engaged in untrue, false, and misleading

marketing in trade or commerce; (b) disseminated the untrue, false, and misleading marketing

through third parties; and (c) aided and abetted the untrue, false, and misleading marketing

through third parties.

       257.    All of this conduct, separately and collectively, was intended to deceive

consumers, including Plaintiffs.

       258.    As a direct result of the foregoing acts and practices, Defendants have received, or

will receive, income, profits, and other benefits, which they would not have received if they had

not engaged in the violations of the MMPA as described above.

       259.    By reason of the foregoing, Plaintiffs suffered ascertainable losses, including

economic losses, as described in Missouri Revised Statute § 407.025, et seq., and claim punitive

damages and attorney’s fees pursuant to Missouri Revised Statute § 407.025 (1).

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Branson Duck Vehicles, LLC, d/b/a Ride the Ducks, Ride the Ducks




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International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

                           Respectfully submitted,

                           ALESHIRE ROBB, P.C.

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                                  AND

                           (Pending Admission Pro Hac Vice)
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